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                IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION



TERESA BLOODMAN                                                             PLAINTIFF(S)

VS.                             Case No. 4:16CV00773 SWW

BANK OF AMERICA NA, ET AL                                                  DEFENDANT(S)


                                            ORDER

       The Clerk is directed to reassign the above styled case, currently assigned to the docket of

Judge Susan Webber Wright, due to her senior status.

       IT IS SO ORDERED this 24th day of October 2016.



                                             AT THE DIRECTION OF THE COURT
                                             JAMES W. McCORMACK, CLERK

                                             BY: /s/ Cecilia Norwood
                                                Courtroom Deputy to
                                                U.S. District Judge Susan Webber Wright
